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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------x
LaQUAN COPES

                                   Plaintiff
              -against-                                                       COMPLAINT
                                                                              PLAINTIFFS DEMAND
                                                                              TRIAL BY JURY

THE CITY OF NEW YORK,                                                         17-cv-8413
P.O. GINA MESTRE, Sh. # 11607, P.O. TIMOTHY BURKE,
Sh. # 17244, P.O. JOEL AYALA, Sh. # 8262 and POLICE
OFFICER JOHN DOE 1-25


                                    Defendants
-----------------------------------------------------------------------X




         Plaintiff LAQUAN COPES, by his attorney, Michael Colihan, as and for his complaint in
this action against the defendants, above named, respectfully sets forth and alleges as follows:


                                PRELIMINARY STATEMENT


        1. This is a civil action for damages brought to redress the deprivation by

defendants of the rights secured to plaintiff under the Constitution and laws of the United States

and the State of New York. The defendants, upon information & belief without probable cause,

unlawfully assaulted and injured the plaintiff without just cause. The plaintiff suffered serious

and severe physical & psychological injuries, the full nature and extent of which have yet to be

determined. By the filing of this complaint, the plaintiff now alleges that the City of New York &

the New York City Police Department violated his rights under 42 USC Section 1983 and 1988,

the 4th Amendment of the United States Constitution and New York State law. In addition, the
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plaintiff invokes the pendant jurisdiction of this court to assert claims arising under state law.

The City has displayed a deliberate indifference to this unlawful and perjurious activity by its

employees.


                                     JURISDICTION


       2. That the jurisdiction of this Court is invoked under the provisions of Section 1331 &

1343 of Title 28 and Sections 1983 & 1988 of Title 42 of the United States Code, as well as the

Fourth and Fourteenth Amendments to the Constitution of the United States. Plaintiff further

invokes the supplemental jurisdiction of this Court pursuant to 28 USC Section 1367 to hear and

decide their New York State Law claims of assault, excessive force and the intentional and

negligent infliction of mental & emotional distress against the individual defendant officers.

These state law claims form part of the same case and controversy as plaintiff’s federal claims

under Article III of the United States Constitution.




       3. Because plaintiff’s state law claims are brought only against the individual defendant

police officers and allege intentional conduct, no notice of claim is required. In suits against

municipal or county employees, as opposed to suit against municipalities themselves, “ service of

the notice of claim upon the public corporation shall be required only if the corporation has a

statutory obligation to indemnify such person under this chapter or any other provision of law”

N.Y. Gen. Mun. Law Section 50- e (1) n(b).



       4. Venue is properly laid in the Southern District of New York in that this is the District

where the claim arose.
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                                  JURY DEMAND



       5. Plaintiff respectfully demands a trial by jury of all issues in this matter pursuant to

Federal Rule of Civil Procedure 38 (b)



                                PARTIES



       6. The plaintiff LAQUAN COPES is a resident of the City and State of New York, in

Bronx County.


       7 . The defendant THE CITY OF NEW YORK was and is a municipal corporation

organized and existing under the laws of the City and State of New York.



        8. The defendant THE CITY OF NEW YORK maintains, operates, manages and

controls the New York City Police Department ( hereinafter referred to as “ the NYPD”) a duly

authorized agency authorized, organized and existing to perform and carry out all functions of a

police department as per the applicable laws, rules, statues and ordinances of the aforementioned

municipal corporation THE CITY OF NEW YORK.



          9. That the defendant P.O. GINA MESTRE was and is an agent, servant and

employee of the defendant THE CITY OF NEW YORK.



         10. That the defendant P.O. JOEL AYALA, Sh. #8262 was and is an agent, servant
and employee of the defendant THE CITY OF NEW YORK.
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          11. That the defendant P.O. TIMOTHY BURKE, Sh. #17244 was and is an agent,
servant and employee of the defendant THE CITY OF NEW YORK.




         12. That the defendants POLICE OFFICER JOHN DOE 1-25 were and are agents,
servants & employees of the defendant THE CITY OF NEW YORK.


                           STATEMENT OF RELEVANT FACTS


          13. That on or about the 27th day of October, 2017, the plaintiff LAQUAN COPES was

lawfully in the County, City and State of New York in the County of Bronx, at or near West

Kingsbridge and Davidson Avenues , riding a bicycle.



         14. At the aforesaid time and place the plaintiff was unlawfully and without just cause,

approached, and assaulted and physically injured by the aforementioned officers of THE NEW

YORK CITY POLICE DEPARTMENT who were agents, servants and employees of the

defendant THE CITY OF NEW YORK who were acting under color of law during the aforesaid

transactions . He suffered multiple injuries including but not limited to injuries to his right

shoulder for which he was treated at St. Barnabas Hospital and will require further treatment.




        15. While the plaintiff was being held, his designated “ arresting officer”, P.O. GINA

MESTRE, and P.O. TIMOTHY BURKE, Sh.# 17244 and P.O. JOEL AYALA, Sh. # 2026, and

other defendants, with the acquiescence of other defendants, misrepresented facts in the police

reports and other documents to justify the unwarranted assault upon the plaintiff..



         16. All of the foregoing took place as a direct and foreseeable result of the
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unconstitutional policies, customs and practices of the City of New York and the NYPD,

including, without limitation, the falsification of evidence, and other things to justify

unwarranted assaults and the use of excessive force upon persons of color, including the plaintiff.

.



       17. The events complained of are not isolated incidents. Defendant CITY OF NEW

YORK, and its agents , servants and employees, especially its counsel, managers and supervisors

are all aware, from lawsuits brought in New York State Supreme Court and the Federal District

Courts for the Eastern and Southern Districts of New York, which are matters of public record,

notices of claim, complaints filed with the CITY OF NEW Y that many officers of the NYPD

including the defendants, are not sufficiently trained regarding the use of force, and are engaging

in a pattern of falsification to conceal their abuse of authority and for other unlawful motives.



       18. Defendant THE CITY OF NEW YORK is further aware that such improper training

has often resulted in a violation of people’s civil rights. Despite such notice, defendant CITY OF

NEW YORK has failed to take corrective action. This failure to act was a direct result of the acts

complained of.



       19. Further, upon information and belief, defendant CITY OF NEW YORK was aware,

prior to the incident that is the subject of this complaint, that the individual defendants lacked the

temperament, objectivity, maturity, discretion and proper disposition to function lawfully as

officers. Despite such notice, the defendant THE CITY OF NEW YORK has retained such

officers, and failed to adequately train and supervise them.
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        20. By reason of the foregoing, plaintiff sustained injury and damage as described above.




        AS AND FOR A FIRST CLAIM ON BEHALF OF THE PLAINTIFF
                             LAQUAN COPES
             Deprivation of Rights under 42 U.S.C. Section 1981 & 1983


              19. The plaintiff repeats the foregoing allegations .



              20. Each, every and all of the aforementioned acts of defendants, their agents,

servants and employees were performed and carried out under color of law.

              21. All of the above described acts deprived plaintiff LAQUAN COPES of the

rights, privileges and immunities guaranteed to United States citizens by the Fourth and

Fourteenth Amendments to the United States Constitution and in violation of 42 U.S.C. Section

1983.

              22. The acts which are the subject of this complaint were performed by the

individually named defendants in their capacities as officers of the DOC, pursuant to the

customs, practices, usages, procedures and rules if the CITY OF NEW YORK and the DOC, all

under the supervision of ranking officers of said department.



             23. Defendants, collectively and individually, while acting under color of state law,

engaged in conduct and actions that constituted a usage, custom, practice, procedure or rule of

the respective municipal authority and defendant, THE CITY OF NEW YORK, which is

forbidden by the United States Constitution.

            24. By reason of the foregoing, the plaintiff LAQUAN COPES is entitled to
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compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.




       AS AND FOR A SECOND CLAIM ON BEHALF OF LAQUAN COPES
            Assault & Excessive Force under 42 U.S.C. Section 1983


                 25. Plaintiff repeats the foregoing allegations.

                  26 . The Defendants assaulted the plaintiff LAQUAN COPES without just
cause, used excessive force upon him, causing him to suffer physical and psychological injury,
for which he was treated at St. Barnabas Hospital. He injuries included, but were not limited to,
those to his right shoulder. He will continue to require treatment.


                 27. By reason of the foregoing, the plaintiff LAQUAN COPES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.



                 AS AND FOR A THIRD CLAIM ON BEHALF OF
                              LAQUAN COPES
                Failure to Intervene under 42 U.S.C. Section 1983


               28. The plaintiff incorporates by reference the allegations set forth in all
preceding paragraphs as if fully set forth herein.



               29 . The individual defendants had an affirmative duty and obligation to intervene
on behalf of the plaintiff whose constitutional rights were being violated in their presence and
with their knowledge.


               30 . The defendants did not intervene to prevent or terminate the unlawful
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conduct described herein.


                31. By reason of the foregoing the plaintiff suffered physical & psychological
injuries .


               32 . By reason of the foregoing, the plaintiff LAQUAN COPES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.



        AS AND FOR A FOURTH CLAIM ON BEHALF OF LAQUAN COPES
                  Supervisory Liability under 42 U.S.C. Section 1983


            33 . The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if fully set forth herein


               34 . The supervisory defendants personally caused plaintiff’s constitutional injury
by being deliberately and/or consciously indifferent to the rights of citizens in failing to properly
train, select, supervise and discipline their employees


.             35 . By reason of the foregoing, the plaintiff LAQUAN COPES is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.




         AS AND FOR A FIFTH CLAIM ON BEHALF OF LAQUAN COPES
                  Municipal Liability under 42 U.S.C. Section 1983
                            MONELL VIOLATION



                  36. The plaintiff incorporates by reference the allegations set forth in all
preceding paragraphs as if fully set forth herein.
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        .          37. Defendants, individually and collectively, while acting under color of state
law, engaged in conduct that constituted a procedure, custom, usage, practice, rule and/or
regulation of the municipal authority THE CITY OF NEW YORK which violates the
Constitution of the United States.


                   38. The aforementioned procedures, customs, usage, practices, rules and/or
regulations of the NYPD includes, but is not limited to subjecting citizens to excessive force,
arresting people without probable cause and engaging in a practice of falsification to conceal
their abuse of authority.

                  39. In addition, the NYPD engaged in a practice policy or custom of
inadequate screening, hiring, investigation, retaining, training and supervision of its employees
that was the moving force behind the violation of the plaintiff’s rights as described in this
complaint. By reason of the failure of the CITY OF NEW YORK to properly recruit, screen, train
discipline and supervise its officers, including the individual defendants, In addition, despite
receiving countless notices of claim and complaints of the Supreme Court of the State of New
York as well as the United States District Courts for the Eastern and Southern Districts of New
York, the defendant the CITY OF NEW YORK has tacitly ratified and authorized the conduct
complained of, and has displayed deliberate indifference to the acts and conduct complained of
herein.


                 40 . That the City of New York, through a policy, practice or custom, directly
caused the constitutional violations suffered by the plaintiff.


                 41. The foregoing customs, policies usages, practices, procedures and rules of
the defendant the CITY OF NEW YORK constituted deliberate indifference to the safety, well
being and constitutional rights of the plaintiff.  .



                  42. Despite the foregoing, the City of New York exercised deliberate
indifference to the aforementioned abuses against civilians such as the plaintiffs by failing to take
remedial action. The City failed to properly train, retain supervise discipline and monitor the
defendants ad other members of the service guilty of similar abuses.


                43 . The City’s failure to act resulted in a violation of the plaintiff’s
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constitutional rights


                44. At all times material to this complaint, defendant THE CITY OF NEW
YORK had de facto policies, practices, customs and usages which were a direct and proximate
cause of the unconstitutional conduct alleged herein.


                 45. At all times material to this complaint, defendant THE CITY OF NEW
YORK failed to properly train, screen, supervise, or discipline employees and police officers, and
failed to inform the individual defendants’ supervisors of their need to train, screen, supervise or
discipline the individually named defendants . The policies, practices, customs, and usages were
a direct and proximate cause of the unconstitutional conduct alleged herein, causing injury and
damage in violation of plaintiff’s constitutional rights as guaranteed under 42 U.S.C. § 1983 and
the United States Constitution, including its Fourth and Fourteenth Amendments.


                 46. All of the foregoing acts by defendants deprived plaintiff of federally
protected constitutional rights, including but not limited to the right to:


          Not to be denied liberty without due process of law


         To be free from the use of excessive force, assault and summary punishment


         To have other officers intervene when a police officer abuses a civilian



            47. As a result of the foregoing, plaintiff was deprived of liberty, suffered emotional
injury, pain and suffering, great humiliation, costs and expenses, and was otherwise damaged and
injured.



            WHEREFORE, the plaintiff respectfully preys to the court for judgment upon each
cause of action as follows:
                    a. Compensatory damages in an amount which this Court shall consider to be
just and fair:
                     b. Punitive and exemplary damages in an amount which this Court shall
consider to be just & fair;
                     c. Attorney’s fees in an amount which this Court shall consider just & fair;
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                    d. Together with the costs and disbursements of this action and such other
and further relief which this Court may seem just & proper.




                DATED: BROOKLYN, NY
                       October 31, 2017.
                   .                               This is an electronic signature
                                 --------------/s/------------------------------
                           MICHAEL COLIHAN (MC-0826)
                                           Attorney for the Plaintiff
                                           44 Court Street
                                           Suite 906
                                           Brooklyn, NY 11201
                                           (718) 488-7788
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